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From: Jim Rather <jrather@alker-rather.com>
Date: Wed, May 16, 2018, 13:48
Subject: Re: Tonti Management
To: Dory Turnipseed <dturnips333@gmail.com>
Cc: James C. Rather Jr. <jrather@sutton-alker.com>



Ms. Turnipseed:



Thank you for agreeing to remove the dog.



Tonti has fully cooperated and communicated with you during this process. It is you who
brought the unauthorized dog into your apartment in violation of your lease and contrary to your
agreement not to do so. You did not notify Tonti the dog was in your apartment. Tonti became
aware the dog was in your apartment, and notified you that you were in violation of the lease.



Again, if you have any additional information you would like us to consider, we will be happy to
do so. Based upon what you have submitted thus far, it does not appear Mr Friedman is your
therapist. He is a Florida social worker you sought out on the Internet for the sole purpose of
purchasing an ESA letter, as your treating physician refused to issue one. Mr. Friedman sold you
the letter despite the fact you have never met him and spoke to him by phone only once.



If you have any further documentation please, submit it. Tonti is willing to continue
collaborating towards a mutually acceptable outcome. In the meantime, you are still responsible
for the animal fee and additional animal deposit for having an unauthorized animal in your
apartment. Please make payment of $1,050 by the close of business tomorrow. If, in the future,
Tonti authorizes the animal as an ESA, any charges would be refunded to you.



Sincerely,



James C. Rather, Jr

ALKER & RATHER,LLC
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